Case 20-30968 Document 99-1 Filed in TXSB on 04/02/20 Page 1 of 9




     Exhibit A
Case 20-30968 Document 99-1 Filed in TXSB on 04/02/20 Page 2 of 9




        13 Week Cash Flow Forecast
               Watson Valve Services Inc.

                       As of March 18, 2020


             Working Draft - Subject to Material Change




                   Prepared by: MACCO Restructuring Group
        Case 20-30968 Document 99-1 Filed in TXSB on 04/02/20 Page 3 of 9


Disclaimer

      Forward-Looking Statements

      Statements in this presentation which are not statements of historical fact are “forward looking statements”
      within the Safe Harbor provision of the Private Securities Litigation Reform act of 1995. Such statements are
      not guarantees of future performance. Many factors could cause our actual results, performance or
      achievements, or industry results, to be materially different from any future results, performance or
      achievements expressed or implied by such forward-looking statements. We make forward-looking statements
      based on currently available information, and we assume no obligation to update the statements made today or
      contained in other filings due to changes in underlying factors, new information, future developments, or
      otherwise, except as required by law.


      Third Party Information

      This presentation, including certain forward-looking statements herein, include information obtained from third
      party sources that we believe to be reliable; however, we have not independently verified this third party
      information and cannot assure you of its accuracy or completeness. While we are not aware of any
      misstatements regarding any third party data contained in this presentation, such data involve risks and
      uncertainties and are subject to change based on various factors. We assume no obligation to revise or
      update this third party information to reflect future events or circumstances.

      Going Concern

      The attached 13 Week Cash Flow Forecast has been generated recognizing the uncertainty regarding the
      Company’s ability to continue as a going concern. This uncertainty is based on the Company’s loss of its
      production facilities, lack of an identifiable source of consistent revenue, projected negative cash flows from
      operations for the 13-week period and potential inability to meet its long term debt obligations.

      An evaluation of these conditions may lead to a determination that potential increased revenues from the
      Company’s remaining ongoing projects may allow the Company to meet its ongoing operational obligations in
      the near term. However, to continue to execute its business plan and meet its debt obligations, additional
      working capital will be required. As part of this evaluation, the selective participation/completion of certain
      ongoing projects based on availability of working capital and the timing of production-related cash flows was
      contemplated. There is uncertainty that plans to fulfill ongoing work, if executed, will allow the Company to
      meet all of its obligations.

      As a result, there is substantial doubt about the Company’s ability to continue as a going concern. The 13
      Week Cash Flow Forecast does not include any adjustments related to the realization of the carrying value of
      assets or the amounts and classification of liabilities that may become necessary should the Company be
      unable to continue as a going concern.
                                                         Case 20-30968 Document 99-1 Filed in TXSB on 04/02/20 Page 4 of 9


Methodology
1. The accompanying 13 week cash flow forecast was constructed using historical, recent and forward looking financial information and incorporates
discussions with management and estimates based on historical averages.
2. Cash flow activity is presented on a book basis.
3. Source information provided on a line item basis.

Operating Cash
1. China project account is net of pre-petition project expenses incurred of approx. $1,856,858 (i.e. pre-petition collections amounted to $2.1MM)


Collections
1. Assumed over 90 amounts to be collected week ending 3/13/2020, 60-90 3/20/2020, 30-60 3/27/2020, current 4/3/2020
2. Assumed no allowance for doubtful accounts.
3. Barrick GS May collections are tied to expedited valve refurbishments currently in progress and scheduled for completion 4/9/2020
4. Newmont May collections are tied to expedited valve refurbishments currently in progress and scheduled for completion 4/9/2020
5. Barrick PV May collections are tied to expedited valve refurbishments not yet in progress. Valves to be received week of 3/6/2020

Insurance
1. Insurance pending motion to be filed week ending 3/6/2020.

Outflows
1) Vendor payments utilizes monthly court-approved budget and distributes evenly across March.
2) Remaining payments assume maintaining AP current per vendor payment terms.
3) Rent, 401K and WC Insurance currently being paid in full by Watson Grinding even though resources are shared.
4) Assumes deposits for Russia and China to be credited to final billing.

Debt
1) Revolver facility cross-collateralized across both Watson Grinding and Watson Valve. Shown for informational purposes only as interest is currently accruing.
                                                                                                      Case 20-30968 Document 99-1 Filed in TXSB on 04/02/20 Page 5 of 9
Watson Valve Services Inc. Weekly Cash Forecast                           Week #:          1               2                3              4              5               6                7                8              9              10              11               12               13             Line Item
Week Ending 03/06/2020 thru 05/29/2020                          Forecast or Actual:   FORECAST        FORECAST         FORECAST       FORECAST       FORECAST        FORECAST         FORECAST         FORECAST       FORECAST        FORECAST        FORECAST         FORECAST         FORECAST            TOTALS
  As of March 18, 2020                                              Week Ending:       3/6/2020        3/13/2020        3/20/2020      3/27/2020      4/3/2020        4/10/2020        4/17/2020        4/24/2020      5/1/2020        5/8/2020        5/15/2020        5/22/2020        5/29/2020       03/06/2020 thru 05/29/2020
Net Sales:                                                                                        -                -          6,390        302,015               -                -                -        367,920               -               -                -                -                -          676,325
  Total Sales                                                                                     -                -          6,390        302,015               -                -                -        367,920               -               -                -                -                -          676,325

   Operating Account                                                                      85,000                                                                                                                                                                                                                85,000
   China Project                                                                         243,142                                                                                                                                                                                                               243,142
   Russia Project                                                                        572,242                                                                                                                                                                                                               572,242
   OPERATING CASH - Beg Book Balance                                                     900,383        1,331,381        1,269,689      1,261,910      1,311,355       1,290,303        1,267,515        1,410,246      1,275,155        918,109          732,603          460,041          301,814         13,730,506

Inflows
   Barrick Goldstrike Mines, Inc.                                                                                                                        37,457                                                                                                                             167,920            205,377
   Freeport McMorran                                                                                                                                                                                                                                                                                                 -
   Dominican Republic Royalty                                                                                                              63,468                                         194,547                                                                                                              258,015
   Mexico Project                                                                                                                                                                                                                                                                                                    -
   Russia/ Australia                                                                                                                                                                                                                                                                                                 -
   China                                                                                                                                                                                                                                                                                                             -
   AIV, LP                                                                                                                   7,687                                                                                                                                                                               7,687
   Lenzing Fibers                                                                                           1,200                                                                                                                                                                                                1,200
   Barrick - Pueblo Viejo                                                                238,242                                                                                                                                                                                            200,000            438,242
   Lihir Gold LTD                                                                                                                                                                                                                                                                                                    -
   Newmont                                                                                                                                                                                                                                                                                    6,390              6,390
   Techpro - New Build                                                                                                                                                                                                    44,000                                                                                44,000
   ASAP Machine, Inc.                                                                                                                       2,707                                                                                                                                                                2,707
   Collections:                                                                          238,242            1,200            7,687         66,175        37,457                   -       194,547                 -       44,000                  -                -                -       374,310            963,618

   Insurance:
   Business Interruption Insurance                                                       225,000                                                                                                                                                                                                               225,000
                                                                                                                                                                                                                                                                                                                     -
      Total Inflows                                                                      463,242            1,200            7,687         66,175        37,457                   -       194,547                 -       44,000                  -                -                -       374,310          1,188,618

Outflows:
  Vendor Payments - Current Court Budget                                                    9,000           9,000            9,000          9,000             -                -                -                -             -               -                -                -                -             36,000
  Vendor Payments - Keep A/P Current, net of court budget                                       -               -                -              -           263           16,322            6,798          128,625       140,535         179,040          227,545          151,761          128,625            979,513
                                                                                                                                                                                                                                                                                                                     -
  Credit to customer to final billing

  Payroll, Hourly Employees - Paid Weekly                                                     2,688         2,688            2,688          2,688         2,688            2,688            2,688            2,688         2,688           2,688            2,688            2,688            2,688             34,944
  Payroll Taxes, Hourly Employees - Paid Weekly                                                 221           221              221            221           221              221              221              221           221             221              221              221              221              2,873
  Payroll Benefits (Health Insurance, Life Insurance, Workers Comp), Hourly Employ              432           432              432            432           432              432              432              432           432             432              432              432              432              5,616
  Payroll, Salaried Employees - cash outlay on the 13th and 2 days prior to Last day of Month              41,988                                        33,114                            33,114                         33,114                           33,114                            33,114            207,556
  Payroll Taxes, Salaried Employees - cash outlay on the 13th and 2 days prior to Last day of Month         3,046                                         3,046                             3,046                          3,046                            3,046                             3,046             18,276
  Payroll Benefits (Health Insurance, Life Insurance, Workers                                               2,392                                         2,392                             2,392                          2,392                            2,392                             2,392             14,352
   401(k)                                                                                                                                                                                                                                                                                                            -
   Rent paid to Logic Precision                                                                                                                                                                                                                                                                                      -
   Utilities                                                                                1,000                                                           250                                                              250                                                               250               1,750
   Insurance (AFCO the 3rd coverage)(paid on 1st)                                          10,778                                                        10,778                                                           10,778                                                                                32,334
   Insurance (United Fire Group General Liability)(paid 26th)                                                                               1,265                                                                          1,265                                                              1,265              3,795
   Insurance (Texas Mutual WC)(paid last day of the month)                                                                                                                                                                                                                                                           -

   Equipment R&M                                                                                                                                                                                                                                                                                                     -
   Office Expense                                                                             500                                                           200                                                              200                                                                200              1,100
   IT                                                                                       2,000                                                         1,000                                                            1,000                                                              1,000              5,000
   Auto/Truck Fuel & Expense                                                                  125            125               125            125           125             125              125               125           125            125              125              125               125              1,625
   Meals & Entertainment                                                                                                                                                                                                                                                                                             -
   Travel                                                                                                                                                                                                                                                                                                            -
   Marketing & Advertising                                                                                                                                                                                                                                                                                           -
   Sales Tax                                                                                                                                                                                                                                                                                                         -
   Shop Tools/ Supplies                                                                     3,000           3,000            3,000          3,000         3,000            3,000            3,000            3,000         3,000           3,000            3,000            3,000            3,000             39,000
   Property Taxes                                                                                                                                                                                                                                                                                                    -
   Other Operating Expenses                                                                   500                                                         1,000                                                            1,000                                                              1,000              3,500
       Total Outflows                                                                      30,244          62,892           15,466         16,731        58,508           22,788           51,816          135,091       200,046         185,506          272,563          158,227          177,358          1,387,235
                                                                                        Case 20-30968 Document 99-1 Filed in TXSB on 04/02/20 Page 6 of 9
Watson Valve Services Inc. Weekly Cash Forecast             Week #:          1               2                3                4                5               6                7                8                9              10              11               12               13             Line Item
Week Ending 03/06/2020 thru 05/29/2020            Forecast or Actual:   FORECAST        FORECAST         FORECAST         FORECAST         FORECAST        FORECAST         FORECAST         FORECAST         FORECAST        FORECAST        FORECAST         FORECAST         FORECAST            TOTALS
  As of March 18, 2020                                Week Ending:       3/6/2020        3/13/2020        3/20/2020        3/27/2020        4/3/2020        4/10/2020        4/17/2020        4/24/2020        5/1/2020        5/8/2020        5/15/2020        5/22/2020        5/29/2020       03/06/2020 thru 05/29/2020

Net Cash Flow from Operations                                              432,998          (61,692)          (7,779)          49,444          (21,052)        (22,788)         142,731         (135,091)        (156,046)       (185,506)       (272,563)        (158,227)         196,953            (198,617)

NON-OPERATING EXPENSES
  Term Loan Interest Payments                                                     -                  -                -                -               -                -                -                -               -               -                -                -                -               -
  Term Loan Principal Paydown                                                     -                  -                -                -               -                -                -                -               -               -                -                -                -               -
  Bank Charges - Fees for DIP Bond                                            2,000                                                                                                                                                                                                                      2,000
  Legal - Watson Valve Counsel                                                                                                                                                                                    80,000                                                             80,000            160,000
  UCC Counsel                                                                                                                                                                                                                                                                                                -
  Noticing Agent                                                                                                                                                                                                                                                                                             -
  Accountants/CPA (Tax, Quarterly Reviews)                                                                                                                                                                                                                                                                   -
  MACCO                                                                                                                                                                                                          121,000                                                             25,000            146,000
  Investment Bank
  Other                                                                                                                                                                                                                                                                                                      -
  Proceeds from Asset Sales                                                                                                                                                                                                                                                                                  -
      Total Non-Operating Expenses                                            2,000                  -                -                -               -                -                -                -      201,000                  -                -                -       105,000            308,000

Net Cash Flow Before Revolver                                              430,998          (61,692)          (7,779)          49,444          (21,052)        (22,788)         142,731         (135,091)        (357,046)       (185,506)       (272,563)        (158,227)          91,953            (506,617)

(Payment to Revolver)                                                               -                -                -                -               -                -                -                -               -               -                -                -                -                -
Borrowing from Revolver                                                             -                -                -                -               -                -                -                -               -               -                -                -                -                -

OPERATING CASH - Ending Balance                                           1,331,381       1,269,689        1,261,910        1,311,355        1,290,303       1,267,515        1,410,246        1,275,155         918,109         732,603          460,041          301,814          393,767             393,767

Working Capital Schedules

  AR Roll Forward
  Beginning Balance                                                         287,292          49,050           47,850           46,554         282,393          244,937          244,937           50,390         418,310         374,310          374,310          374,310          374,310             287,292
  Collections                                                              (238,242)         (1,200)          (7,687)         (66,175)        (37,457)               -         (194,547)               -         (44,000)              -                -                -         (374,310)           (963,618)
  Additions                                                                       -               -            6,390          302,015               -                -                -          367,920               -               -                -                -                -             676,325
  Ending Balance                                                             49,050          47,850           46,554          282,393         244,937          244,937           50,390          418,310         374,310         374,310          374,310          374,310                0                   -

  AP Roll Forward
  Beginning Balance                                                              -            5,757            8,765          128,590         250,635          434,322          673,261          795,088          795,088         783,178         732,763          633,843          610,707                   -
  Payments to Vendors                                                       (9,000)          (9,000)          (9,000)          (9,000)           (263)         (16,322)          (6,798)        (128,625)        (140,535)       (179,040)       (227,545)        (151,761)        (128,625)         (1,015,513)
  Purchases - Vendors                                                       14,757           12,008          128,825          131,045         183,950          255,261          128,625          128,625          128,625         128,625         128,625          128,625          128,625           1,626,221
  Adjustments                                                                                                                                                                                                                                                                                                 -
  Ending Balance                                                              5,757           8,765          128,590          250,635         434,322          673,261          795,088          795,088         783,178         732,763          633,843          610,707          610,707             610,707

  Inventory Roll Forward
  Beginning Balance                                                              -           14,757           26,765          155,590         286,635          470,585          725,846          854,471          983,096       1,111,721       1,240,346        1,368,971        1,497,596                  -
  Purchases                                                                 14,757           12,008          128,825          131,045         183,950          255,261          128,625          128,625          128,625         128,625         128,625          128,625          128,625          1,626,221
  Inventory Usage                                                                -                -                -                -               -                -                -                -                -               -               -                -                -                  -
  Ending Balance                                                            14,757           26,765          155,590          286,635         470,585          725,846          854,471          983,096        1,111,721       1,240,346       1,368,971        1,497,596        1,626,221          1,626,221

Debt Schedules
                                                        Rate
  Revolver                                                     4.75%
  Beginning Balance                                                       3,000,000       3,000,000        3,002,671        3,005,343        3,008,018       3,010,695        3,013,375        3,016,057        3,018,741       3,021,427       3,024,117        3,026,808        3,029,502          3,000,000
  Plus Draws                                                                      -               -                -                -                -               -                -                -                -               -               -                -                -                  -
  Plus Interest Accrual                                                                       2,671            2,672            2,675            2,677           2,679            2,682            2,684            2,687           2,689           2,691            2,694            2,696             32,198
  Less Paydowns                                                                   -               -                -                -                -               -                -                -                -               -               -                -                -                  -
  Ending Balance                                                          3,000,000       3,002,671        3,005,343        3,008,018        3,010,695       3,013,375        3,016,057        3,018,741        3,021,427       3,024,117       3,026,808        3,029,502        3,032,198          3,032,198
                                                                                                      Case 20-30968 Document 99-1 Filed in TXSB on 04/02/20 Page 7 of 9
Watson Valve Services Inc. Weekly Cash Forecast                            Week #:         1               2                3                4                5               6                7                8                9              10              11               12               13             Line Item
Week Ending 03/06/2020 thru 05/29/2020                           Forecast or Actual:   ACTUAL          ACTUAL          FORECAST         FORECAST         FORECAST        FORECAST         FORECAST         FORECAST         FORECAST        FORECAST        FORECAST         FORECAST         FORECAST            TOTALS
  As of March 18, 2020                                               Week Ending:      3/6/2020        3/13/2020        3/20/2020        3/27/2020        4/3/2020        4/10/2020        4/17/2020        4/24/2020        5/1/2020        5/8/2020        5/15/2020        5/22/2020        5/29/2020       03/06/2020 thru 05/29/2020
Net Sales:                                                                                        -                -
  Total Sales                                                                                     -                -                                                                                                                                                                                                        -

  Operating Account                                                                        91,857
  China Project Deposit                                                                   243,142
  Russia Project Deposit (AMUR HMP LLC)                                                   572,242
  OPERATING CASH - Beg Book Balance                                                       907,240       1,137,264                                                                                                                                                                                                  1,137,264

Inflows
   Barrick Goldstrike Mines, Inc.                                                                 -                -                                                                                                                                                                                                        -
   Freeport McMorran                                                                              -                -                                                                                                                                                                                                        -
   Dominican Republic: 50% of Profit, 800K revenue, $200K
                                                                                                  -                -                                                                                                                                                                                                        -
   Gross Profit
   Mexico Project                                                                               -               -                                                                                                                                                                                                          -
   Russia/ Australia                                                                            -               -                                                                                                                                                                                                          -
   China                                                                                        -               -                                                                                                                                                                                                          -
   AIV, LP                                                                                      -               -                                                                                                                                                                                                          -
   Lenzing Fibers                                                                               -               -                                                                                                                                                                                                          -
   Barrick - Pueblo Viejo                                                                 238,242               -                                                                                                                                                                                                    238,242
   Lihir Gold LTD (unscheduled receipt - not in A/R)                                            -          23,530                                                                                                                                                                                                     23,530
   Newmont                                                                                      -               -                                                                                                                                                                                                          -
   Techpro - New Build                                                                          -               -                                                                                                                                                                                                          -
   ASAP Machine, Inc.                                                                           -               -                                                                                                                                                                                                          -
   Collections:                                                                           238,242          23,530                   -                -               -                -                -                -               -               -                -                -                -         261,772

  Insurance:
  Business Interruption Insurance                                                                 -       225,000                                                                                                                                                                                                    225,000

  Total Inflows                                                                           238,242         248,530                   -                -               -                -                -                -               -               -                -                -                -         486,772

Outflows:
  Vendor Payments                                                                           4,649           5,503                                                                                                                                                                                                     10,153
  Vendor Payments - Keep A/P Current, net of court budget                                       -               -                                                                                                                                                                                                          -

  Refunds/ Application of customer deposits to final billing                                      -                -                                                                                                                                                                                                        -

  Payroll, Hourly Employees - Paid Weekly                                                   2,688           2,688                                                                                                                                                                                                       5,376
  Payroll Taxes, Hourly Employees - Paid Weekly                                               206             236                                                                                                                                                                                                         442
  Payroll Benefits (Health Insurance, Life Insurance, Workers
                                                                                             432              432                                                                                                                                                                                                        864
  Comp),
     y     Hourly Employees
                       p y - Paid Weekly                     y
  of Month, less 2 days                                                                           -        39,184                                                                                                                                                                                                     39,184
  Payroll Taxes, Salaried Employees - Paid on the 13th and
                                                                                                  -         2,843                                                                                                                                                                                                       2,843
  Last day of Month, less 2
  Payroll Benefits (Health Insurance, Life Insurance, Workers                                     -         2,232                                                                                                                                                                                                       2,232
  401(k)                                                                                          -             -                                                                                                                                                                                                           -
  Rent paid to Logic Precision                                                                    -             -                                                                                                                                                                                                           -
  Utilities                                                                                       -             -                                                                                                                                                                                                           -
  Insurance (AFCO the 3rd coverage)(paid on 1st)                                                  -             -                                                                                                                                                                                                           -
  Insurance (United Fire Group General Liability)(paid 26th)                                      -             -                                                                                                                                                                                                           -
  Insurance (Texas Mutual WC)(paid last day of the month)                                         -             -                                                                                                                                                                                                           -

  Equipment R&M                                                                                -                   -                                                                                                                                                                                                       -
  Office Expense                                                                               -                   -                                                                                                                                                                                                       -
  IT                                                                                           -                   -                                                                                                                                                                                                       -
  Auto/Truck Fuel & Expense                                                                    -                   -                                                                                                                                                                                                       -
  Meals & Entertainment                                                                        -                   -                                                                                                                                                                                                       -
  Travel                                                                                       -                   -                                                                                                                                                                                                       -
  Marketing & Advertising                                                                      -                   -                                                                                                                                                                                                       -
  Sales Tax                                                                                    -                   -                                                                                                                                                                                                       -
  Capital Expenditures (Shop Tools)                                                          190                   -                                                                                                                                                                                                     190
                                                                          Case 20-30968 Document 99-1 Filed in TXSB on 04/02/20 Page 8 of 9
  Property Taxes                                                     -             -                                                                                 -
  Other Operating Expenses - Payroll and wire Fees                  29            60                                                                                89
  Total Outflows                                                 8,195        53,178     -       -       -       -        -       -       -   -   -   -   -     61,373

Net Cash Flow from Operations                                 230,047        195,352     -       -       -       -        -       -       -   -   -   -   -    425,399

NON-OPERATING EXPENSES
  Term Loan Interest Payments                                       -               -                                                                                -
  Term Loan Principal Paydown                                       -               -                                                                                -
  Bank Charges - Fees for DIP Bond                                 24               -                                                                               24
  Legal - Watson Valve Counsel                                      -               -                                                                                -
  UCC Counsel                                                       -               -                                                                                -
  Noticing Agent                                                    -               -                                                                                -
  Accountants/CPA (Tax, Quarterly Reviews)                          -               -                                                                                -
  MACCO                                                             -               -                                                                                -
  Investment Bank                                                                   -                                                                                -
  Other                                                             -               -                                                                                -
  Proceeds from Asset Sales                                         -               -                                                                                -
  Total Non-Operating Expenses                                     24               -    -       -       -       -        -       -       -   -   -   -   -         24

Net Cash Flow Before Revolver                                 230,023        195,352     -       -       -       -        -       -       -   -   -   -   -    425,375

(Payment to Revolver)                                                -              -                                                                                 -
Borrowing from Revolver                                              -              -                                                                                 -

OPERATING CASH - Ending Balance                              1,137,264      1,332,615    -       -       -       -        -       -       -   -   -   -   -   1,562,639

Working Capital Schedules

  AR Roll Forward
  Beginning Balance                                            287,292         49,050                                                                           287,292
  Collections                                                 (238,242)       (23,530)                                                                         (261,772)
  Additions                                                          -              -                                                                                 -
  Ending Balance                                                49,050         25,520    -       -       -       -        -       -       -   -   -   -   -      25,520

  AP Roll Forward
  Beginning Balance                                                 -         10,107                                                                                  -
  Payments to Vendors                                          (4,649)        (5,503)                                                                           (10,153)
  Purchases - Vendors                                          14,757         12,008                                                                             26,765
  Adjustments                                                       -              -                                                                                  -
  Ending Balance                                               10,107         16,612     -       -       -       -        -       -       -   -   -   -   -      16,612

  Inventory Roll Forward
  Beginning Balance                                                           14,757                                                                                 -
  Purchases                                                    14,757         12,008                                                                            26,765
  Inventory Usage                                                   -              -                                                                                 -
  Ending Balance                                               14,757         26,765                                                                            26,765

Debt Schedules

  Revolver                                           4.75%
  Beginning Balance                                          3,000,000      3,000,000                                                                         3,000,000
  Plus Draws                                                         -              -                                                                                 -
  Plus Interest Accrual                                              -          2,671                                                                             2,671
  Less Paydowns                                                      -              -                                                                                 -
  Ending Balance                                             3,000,000      3,002,671                                                                         3,002,671
                                                            Case 20-30968 Document 99-1 Filed in TXSB on 04/02/20 Page 9 of 9


Cash Flow Actual to Forecast Results
Watson Valve Services Inc.                                                                     Past Week                                                       Cumulative 2 Weeks
Consolidated for Week Ending 03/06/2020 thru 05/29/2020                     Actual      Forecast      Variance ($)        Variance (%)       Actual          Forecast      Variance ($)    Variance (%)
As of March 18, 2020                                                     Week Ending   Week Ending    Week Ending         Week Ending     Week Ending       Week Ending    Week Ending     Week Ending
                                                                          3/13/2020     3/13/2020      3/13/2020           3/13/2020       3/13/2020         3/13/2020      3/13/2020       3/13/2020
            Total Sales                                                            0             0                0               0.0%                  0              0              0            0.0%

OPERATING CASH - Beg Book Balance                                          1,137,264     1,331,381         (194,118)           (14.6%)          1,137,264      1,331,381       (194,118)         (14.6%)

Inflows:
            Collections                                                      248,530         1,200         247,330           20610.8%            486,772        239,442         247,330          103.3%

Outflows:
            Vendor Payments                                                    5,503         9,000           (3,497)           (38.9%)            10,153         18,000          (7,847)         (43.6%)
            Refunds/ Application of customer deposits to final billing                                                                                 0              0               0             0.0%
            Payroll, Hourly Employees                                          2,688         2,688                0               0.0%             5,376          5,376               0             0.0%
            Payroll Taxes, Hourly Employees                                      236           221               15               6.6%               442            442              (0)          (0.0%)
            Payroll Benefits, Hourly Employees                                   432           432                0               0.0%               864            864              (0)          (0.0%)
            Payroll, Salaried Employees                                       39,184        41,988           (2,804)            (6.7%)            39,184         41,988          (2,804)          (6.7%)
            Payroll Taxes, Salaried Employees                                  2,843         3,046             (203)            (6.7%)             2,843          3,046            (203)          (6.7%)
            Payroll Benefits, Salaried Employees                               2,232         2,392             (160)            (6.7%)             2,232          2,392            (160)          (6.7%)
            401(k)                                                                 0             0                0               0.0%                 0              0               0             0.0%
            Rent paid to Logic Precision                                           0             0                0               0.0%                 0              0               0             0.0%
            Utilities                                                              0             0                0               0.0%                 0          1,000          (1,000)        (100.0%)
            Insurance (AFCO the 3rd coverage)(paid on 1st)                         0             0                0               0.0%                 0         10,778         (10,778)        (100.0%)
            Insurance (United Fire Group General Liability)(paid 26th)             0             0                0               0.0%                 0              0               0             0.0%
            Insurance (Texas Mutual WC)(paid last day of the month)                0             0                0               0.0%                 0              0               0             0.0%

            Equipment R&M                                                          0             0                0               0.0%                 0              0               0             0.0%
            Office Expense                                                         0             0                0               0.0%                 0            500            (500)        (100.0%)
            IT                                                                     0             0                0               0.0%                 0          2,000          (2,000)        (100.0%)
            Auto/Truck Fuel & Expense                                              0           125             (125)          (100.0%)                 0            250            (250)        (100.0%)
            Meals & Entertainment                                                  0             0                0               0.0%                 0              0               0             0.0%
            Travel                                                                 0             0                0               0.0%                 0              0               0             0.0%
            Marketing & Advertising                                                0             0                0               0.0%                 0              0               0             0.0%
            Sales Tax                                                              0             0                0               0.0%                 0              0               0             0.0%
            Capital Expenditures (Shop Tools)                                      0         3,000           (3,000)          (100.0%)               190          6,000          (5,810)         (96.8%)
            Property Taxes                                                         0             0                0               0.0%                 0              0               0             0.0%
            Other Operating Expenses                                              60             0               60               0.0%                89            500            (411)         (82.2%)
                Total Operating Outflows                                      53,178        62,892           (9,714)           (15.4%)            61,373         93,136         (31,763)         (34.1%)

Net Cash Flow from Operations                                                195,352       (61,692)        257,044             416.7%            425,399        146,306         279,093          190.8%

Non-Operating Expenses
          Term Loan Interest Payments                                              0             0                0               0.0%                 0               0              0             0.0%
          Term Loan Principal Paydown                                              0             0                0               0.0%                 0               0              0             0.0%
          Bank Charges - Fees                                                      0             0                0               0.0%                24           2,000         (1,976)         (98.8%)
          Legal - Watson Valve Counsel                                             0             0                0               0.0%                 0               0              0             0.0%
          UCC Counsel                                                              0             0                0               0.0%                 0               0              0             0.0%
          Noticing Agent                                                           0             0                0               0.0%                 0               0              0             0.0%
          Accountants/CPA (Tax, Quarterly Reviews)                                 0             0                0               0.0%                 0               0              0             0.0%
          MACCO Restructuring Group (Financial Advisor)                            0             0                0               0.0%                 0               0              0             0.0%
          Other                                                                    0             0                0               0.0%                 0               0              0             0.0%
          Proceeds from Asset Sales                                                0             0                0               0.0%                 0               0              0             0.0%
              Total Non-Operating Expenses                                         0             0                0               0.0%                24           2,000         (1,976)         (98.8%)

Net Cash Flow Before Revolver                                                195,352       (61,692)        257,044             416.7%            425,375        144,306         281,069          194.8%

((Payment to Revolver)                                                             0             0                0               0.0%                  0              0              0            0.0%
 Borrowing from Revolver                                                           0             0                0               0.0%                  0              0              0            0.0%

OPERATING CASH - Ending Book Balance                                       1,332,615     1,269,689          62,926                5.0%          1,562,639      1,475,687         86,951            5.9%

Total Availability (Operating Cash and Unused Availability                 1,332,615     1,269,689          62,926                5.0%          1,562,639      1,475,687         86,951            5.9%

Accounts Receivable                                                           25,520        47,850          (22,330)           (46.7%)            25,520         47,850         (22,330)         (46.7%)
Accounts Payable                                                              16,612         8,765            7,847              89.5%            16,612          8,765           7,847            89.5%
Inventory                                                                     26,765        26,765                0               0.0%            26,765         26,765               0             0.0%




 Updated on 3/18/2020                                                                                                  PRIVATE / CONFIDENTIAL                                                              DRAFT
